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MIDDLE DISTRICT OF FLORIDA {_. _. _. y 4 <~` 03
JACKSONVILLE DIVISION `! ' ~ /' =`_'.~ ,, p,,, _
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ANTONIO HALL, SR.,
Plaimiff, cAsE No.: ’$.\%~w~l 372~-'3`~3‘1’)`£\§
-VS-
WELLS FARGO BANK, N.A.,
Defendant.
/
COMPLAINT
1. Plaintiff alleges violation of the Telephone Consumer Protection Act, 47

U.S.C. §227 et seq. (“'I`CPA”) and the Florida Consumer Collection Practices Act, Fla.
Stat. §559.55 et seq. (“FCCPA”).
INTRODUCTION

2. The TCPA was enacted to prevent companies like WELLS FARGO
BANK, N.A. (hereinafter, “Defendant” or “Wells Fargo”) from invading American
citizens’ privacy and prevent abusive “robo-calls.”

3. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, --US--, 132
S.Ct. 740, 745, 181 L.Ed.2d 881 (2012).

4. “No one can deny the legitimacy of the state’s goal: Preventing the phone

(at home or in one’s pocket) from frequently ringing with unwanted calls. Every call uses

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some of the phone owner’s time and mental energy, both of which are precious. Most
members of the public want to limit calls, especially cellphone calls, to family and
acquaintances, and to get their political information (not to mention their advertisements)
[*6] in other ways.” Patriotic Veterans v. Zoeller, No. 16-2059, 2017 U.S. App. LEXIS
47, at *5-6 (7th Cir. Jan 3, 2017).

5. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the
*1256 scourge of modern civilization, they wake us up in the morning; they interrupt our
dinner at night; they force the sick and elderly out of bed; they hound us until we want to
rip the telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991) Senator Hollings
presumably intended to give telephone subscribers another option: telling the autodialers
to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (ll'h Cir.
2014).

6. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robocalls. The FCC
received more than 215,000 TCPA complaints in 2014."
https://www.fcc.gov/document/fact-sheet-consumer-protection-proposal.

JURISDICTION AND VENUE

7. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

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8. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States; and this action involves violations of
47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

9. The alleged violations described herein occurred in Duval County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §l391(b)(2),
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

FACTUAL ALLEGATIONS

10. Plaintiff is a natural person, and citizen of the state of Florida, residing in
Jacksonville, Duval County, Florida.

11. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (11"‘ cir. 2014) and osorio v. stare Fm-m Bank, F.s.B., 746 F.3d 1242 (11"'
Cir. 2014).

12. Plaintiff is a “consumer” as defined in Florida Statute §559.55(8).

13. Defendant, WELLS FARGO BANK, N.A., is a Corporation and National
Association with a principal place of business located at 420 Montgomery Street, San
Francisco, Califomia 94163, and conducting business the state of the Florida through its
registered agent, Corporation Service Company, located at 1201 Hays Street, Tallahassee,

Florida 32301.

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14. Defendant, Wells Fargo, is a “creditor” as defined in Florida Statute
§559.55(5).

15. The debt that is the subject matter of this complaint is a “consumer debt”
as defined by Florida Statute §559.55(6).

16. Plaintiff is the regular user and carrier of the cellular telephone number at
issue, (912) *** - 6903, and was the called party and recipient of Defendants’ hereinafter
described calls.

17. Defendant placed an exorbitant number of automated calls to Plaintist
cellular telephone (912) *** - 6903 in an attempt to collect on an alleged consumer debt
related to a credit card.

18. On several occasions over approximately the last three (3) years, Plaintiff
instructed Defendant’s agents to stop calling his cellular telephone

19. Upon information and belief, some or all of the calls the Defendant, made
to Plaintist cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called,
without human intervention, using a random or sequential number generator (including
but not limited to a predictive dialer) or an artificial or prerecorded voice; and to dial such
numbers as specified by 47 U.S.C § 227(a)(l) (hereinafter “autodialer calls”). Plaintiff
will testify that he knew it was an autodialer because of the vast number of calls he
received, and because when he answered a call from the Defendant, he would hear either

an extended pause before a representative would come on the line or a pre-recorded

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message instructing him to call the Defendant back or artificial voice instructing him to
hold line the for the next available agent/representative

20. Furthermore, some or all of the calls at issue were placed by the Defendant
using a “prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

21. None of Defendant’s telephone calls placed to Plaintiff were for
“emergency purposes” as specified in 47 U.S.C. §227(b)(l)(A).

22. Defendant attempted to collect an alleged debt related to a credit card from
the Plaintiff by this campaign of telephone calls.

23. In or about September of 2017, Plaintiff answered a call from the
Defendant, met with an extended pause, was eventually connected to a live
agent/representative, explained to the agent that he had previously closed out the account
in good standing, disputed that he owed Defendant anything further, and demanded that
Defendant stop calling his aforementioned cellular telephone number.

24. During the aforementioned phone conversation in or about September of
2017 with Defendant’s agent/representative, Plaintiff unequivocally revoked any express
consent Defendant may have believed it had for placement of telephone calls to
Plaintiff’s aforementioned cellular telephone number by the use of an automatic
telephone dialing system or a pre-recorded or artificial voice.

25. Each subsequent call the Defendant made to the Plaintiff’ s aforementioned
cellular telephone number was done so without the “express consent” of the Plaintiff.

26. Each subsequent call the Defendant made to the Plaintiff"s aforementioned

cellular telephone number was knowing and willful.

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27. Additionally, in or about December of 2017, due to continued automated
calls to his aforementioned cellular telephone number from Defendant, Plaintiff answered
another call from Defendant, was met with an extended pause, held the line to be
connected to a live agent/representative of Defendant, explained to the
agent/representative that he had already instructed Defendant to stop calling him, and
notified the agent/representative that if the Defendant continued to call his cell phone that
he would be retaining an attorney and again instructed Defendant to stop calling his
aforementioned cellular telephone number.

28. Despite actual knowledge of their wrongdoing, Defendant continued the
campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express consent
Defendant may have had to call her aforementioned cellular telephone number.

29. On at least five (5) separate occasions, Plaintiff has either answered a call
from Defendant or returned a ca11 to Defendant regarding his account, held the line to be
connected to a live representative, and demanded that Defendant cease placing calls to his
aforementioned cellular telephone number.

30. Each of the Plaintiff’ s requests for the harassment to end was ignored.

31. From about September of 2017 through the filing of this Complaint,
Defendant has placed approximately four hundred (400) actionable calls to Plaintiff’s
aforementioned cellular telephone number.

32. Defendant intentionally harassed and abused Plaintiff on numerous
occasions by calling multiple times during one day, and on back to back days, with such

frequency as can reasonably be expected to harass.

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33. From each and every ca11 placed without express consent by Defendant to
Plaintiff`s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion
upon his right of seclusion.

34. From each and every ca11 without express consent placed by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of his cellular
telephone line and cellular phone by unwelcome calls, making the phone unavailable for
legitimate callers or outgoing calls while the phone was ringing from Defendant’s calls.

35. From each and every call placed without express consent by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time.
Plaintiff had to waste time to deal with missed ca11 notifications and call logs that reflect
the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s
cellular phone, which are designed to inform the user of important missed
communications

36. Each and every call placed without express consent by Defendant to
Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to the
Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of
answering them. Even for unanswered calls, Plaintiff had to deal with missed call
notifications and call logs that reflected the unwanted calls. This also impaired the
usefulness of these features of Plaintiff’s cellular phone, which are designed to inform the

user of important missed communications

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37. Each and every call placed without express consent by Defendant to
Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell
phone’s battery power.

38. Each and every call placed without express consent by Defendant to
Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff" s chattel, namely his
cellular phone and his cellular phone services.

39. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affected in a personal and individualized way by stress,
anxiety, frustration and aggravation.

40. Defendant’s corporate policy is structured so as to continue to call
individuals like Plaintiff, despite these individuals explaining to Defendant they do not
wish to be called,

41. Defendant’s corporate policy provided no means for Plaintiff to have
Plaintiff’s number removed from Defendant’s call list.

42. Defendant has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint.

43. Defendant has numerous complaints against it across the country asserting
that their automatic telephone dialing system continues to call despite being requested to
stop.

44. Defendant has had numerous complaints against them from consumers
across the country asking to not be called; however, Defendant continues to call these

individuals.

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45. Defendant violated the TCPA with respect to the Plaintiff,
46. Defendant willfully and/or knowingly violated the TCPA with respect to
the Plaintiff.

COUNT l
(Violation of the TCPA)

47. Plaintiff incorporates paragraphs one (1) through forty-six (46) above as if
fully set forth herein.

48. Defendant willfully violated the TCPA with respect to Plaintiff,
specifically for each of the auto-dialer calls made to Plaintiff's cellular telephone after
Plaintiff notified Defendant that Plaintiff did not wish to receive any telephone
communication from Defendant, and demanded for the calls to stop.

49. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiff’ s prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against WELLS FARGO BANK, N.A. for statutory damages, treble
damages, punitive damages, actual damages and any other such relief the court may deem
just and proper.

QO_UM
(Violation of the FCCPA)

50. Plaintiff incorporates paragraphs one (l) through forty-four (44) above as

if fully set forth herein.

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51. At all times relevant to this action Defendant is subject to and must abide
by the law of Florida, including Florida Statute § 559.72.

52. Defendant has violated Florida Statute §559.72(7) by willfully
communicating with the debtor or any member of his family with such frequency as can
reasonably be expected to harass the debtor or his family.

53. Defendant has violated Florida Statute §559.72(7) by willfully engaging in
conduct which can reasonably be expected to abuse or harass the debtor or any member
of his family.

54. Defendant’s actions have directly and proximately resulted in Plaintist
prior and continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against WELLS FARGO BANK, N.A. for statutory damages,
punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.

Respectfully Submitted,

/s/ Shaughn C. Hill

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